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                                                         U.S. Department of Justice
                                                         Civil Division




                                                                May 2, 2025

By ECF
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Federal Square
Newark, New Jersey 07101

       Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
               Government’s Letter in Accordance to the Court’s Order (ECF No. 217)

Dear Judge Farbiarz:

         In accordance with the Court’s order, see ECF No. 217, Respondents (“the Government”)
submit this letter in response to Petitioner Mahmoud Khalil’s letter requesting that the Court allow
him to amend his petition. The Government opposes Petitioner’s amended petition, and this Court
should not accept it for several reasons. First, as a thresholding venue matter, the District of New
Jersey is an improper venue in which to litigate Petitioner Mahmoud Khalil’s habeas claims because
he is not currently confined here. Second, as the Government argued in its prior filings, this Court
lacks subject-matter jurisdiction over the case. 1 The Immigration and Nationality Act (INA) channel
all removal-related challenges through a petition for review. Khalil is now also challenging a
subsequent charge of removability, and this Court’s opinion has effectively created a race between this
Court and the immigration court to adjudicate removability. That is exactly what the INA meant to
avoid.

        Per the Court’s order, the Government will submit its letter brief in opposition to the amended
petition no later than May 5, 2025 at 5:00pm.


                                           *      *       *




1
 The Government acknowledges that this Court issued an opinion, rejecting that the Immigration
and Nationality’s Act jurisdictional bars apply. See ECF No. 214. Nevertheless, the Government
maintains that the Court’s opinion is wrongly decided.
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                                  Respectfully submitted,

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